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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                         PORTLAND DIVISION


 Matthew Peterson,                                 Case No.: 3:20-cv-01284

                                Plaintiff,

 v.                                                COMPLAINT

 Thomson International, Inc.,                      Personal Injury; Strict Product Liability,
                                                   Negligence, Breach of Warranty
                                Defendant.
                                                   DEMAND FOR JURY TRIAL
_____________________________________


         Plaintiff Matthew Peterson, for his claims for relief against Defendant Thomson

International, Inc. states as follows:

                                              PARTIES



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         1.        Plaintiff Matthew Peterson is a 36-year-old man who resides in Clackamas, Oregon.

         2.        Defendant Thomson International Inc. (hereinafter “Thomson International”) is a

corporation registered in California with its principal place of business in Bakersfield, California.

         3.        Thomson International manufactures and sells a variety of fresh produce items,

including red, yellow, white and sweet yellow onions throughout North America.



                                   JURISDICTION AND VENUE

         4.        This court has jurisdiction under 28 U.S.C. § 1332(a), because the amount in

controversy exceeds $75,000 and there is complete diversity of the parties.

         5.        Venue is proper in the District of Oregon under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claim occurred here.

                                    FACTUAL BACKGROUND

                                              Salmonella

         6.        Salmonella is a bacterium that occurs in humans and other animals and is shed in

their feces.

         7.        When Salmonella is ingested by humans, it can cause severe gastroenteritis called

salmonellosis. Symptoms of salmonellosis include nausea, vomiting, diarrhea, and abdominal

pain. Headache, myalgia, and low-grade fever may also accompany salmonellosis.

         8.        Symptoms typically develop within 6 to 72 hours after contaminated food or water

is ingested. Symptoms usually last for several days, but severe cases can last much longer and

result in serious medical complications and death.




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         9.        Long-term health issues in individuals who suffer from salmonellosis are well

documented, and include reactive arthritis, inflammatory bowel syndrome, and immunological

deficiencies.

                             The Thomson International Onion Outbreak

         10.       Salmonella is a reportable disease in every state, including Oregon. This means that

 when an individual tests positive for Salmonella, health care providers must notify the appropriate

 state public health authority.

         11.       State public health departments, like the Oregon Health Authority Public Health

 Division (OHA-PHD), work in conjunction with the Centers for Disease Control and Prevention

 (CDC) and Food and Drug Administration (FDA) to investigate multistate outbreaks of

 Salmonella and other types of foodborne illnesses.

         12.       After being notified of Salmonella illnesses, OHA-PHD can perform a test called

 whole genome sequencing (WGS) on Salmonella isolated from ill individuals. WGS information

 is used to determine if a common-source Salmonella outbreak is occurring.

         13.       On July 10, 2020, CDC’s database for collecting WGS sequences and other data,

 PulseNet, identified 13 Salmonella Newport infections in three different states.

         14.       Many ill people were identified as part of illness clusters. An illness cluster is

 defined as two or more people who do not live in the same household who report eating at the

 same restaurant location, attending a common event, or shopping at the same location of a grocery

 store in the week before becoming ill.

         15.       As of July 31, 2020, CDC identified 22 illness clusters in seven states.

         16.       Information from these clusters showed that many ill people reported eating red

 onions prior to their illnesses.



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         17.       The traceback information collected from these illness clusters identified Thomson

 International, Inc. of Bakersfield, CA as a likely source of red onions.

         18.       Due to the way onions are grown and harvested, other onion types, such as, white,

 yellow or sweet may also be contaminated.

         19.       As of July 31, 2020, the total number of people included in the CDC’s outbreak

 tally was 396 spread across 34 states.

         20.       On August 1, 2020, Thomson International recalled red, yellow, white, and sweet

 onions shipped from May 1, 2020, through August 1, 2020.

         21.       The recalled onions were distributed to wholesalers, restaurants, and retail stores in

 all 50 states, the District of Columbia, and Canada.

         22.       The onions were distributed in 5 lbs. carton. 10 lbs. carton. 25 lbs. carton. 40 lbs.

carton, 50 lbs. carton. bulk, 2 lb. mesh sacks, and 3 lb. mesh sacks, 5 lb. mesh sacks, 10 lb. mesh

sacks 25 lbs. mesh sacks, 50 lbs. mesh sacks under the brand names Thomson Premium, TLC

Thomson International, Tender Loving Care, El Competitor, Hartley’s Best, Onions 52, Majestic,

Imperial Fresh, Kroger, Utah Onions and Food Lion.

                                       Matthew Peterson’s Illness

         23.       Matthew Peterson purchased and consumed red onions from the Fred Meyer store

in Oak Grove, Oregon, and from the Milwaukie, Oregon, Wal-Mart, shortly before becoming ill.

         24.       Plaintiff began feeling ill on July 2, 2020. His first symptoms were fatigue, diarrhea,

and stomach pain. Over the next few days, his condition worsened to include fever and bloody

stool.

         25.       Plaintiff sought medical care from Kaiser Sunnyside on July 3, 2020.




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         26.       While at the hospital, Plaintiff underwent invasive testing, provided blood, urine,

and stool samples, underwent a CT-scan, and received IV-fluids and pain medication.

         27.       Plaintiff was discharged from the hospital with a prescription for antibiotics.

         28.       Plaintiff still suffers from ongoing symptoms of Salmonella.

         29.       Plaintiff learned that he tested positive for Salmonella shortly after being

discharged from the hospital.

         30.       Plaintiff was interviewed at length by the OHA-PHD.

         31.       Upon information and belief, the OHA-PHD and CDC linked Plaintiff to the red

onion Salmonella Newport outbreak via WGS testing and product exposure to recalled Thomson

International onions.

         32.       As a result of his illness, Plaintiff suffered past and future medical expenses, past

and future wage loss, and damages for pain and suffering in an amount to be determined by the

jury.

                                               DAMAGES

         33.       As a result of his Salmonella infection, Plaintiff has suffered significant injuries

and damages and required medical treatment.

         34.       Plaintiff has not yet fully recovered from his Salmonella infection and is expected

to require future medical care.

         35.       As a result of the negligent acts of the Defendant which proximately and directly

caused the Plaintiff’s illness, Plaintiff sustained injuries and damages and has in the past and will

in the future incur expenses for medical treatment, hospitalization, physical therapy, medications,

and other care related to his injuries and their consequences; as a result, she has in the past and

will in the future suffer great physical and mental pain and suffering, emotional distress and loss



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of enjoyment of life; as a result, she has in the past and will in the future incur a loss of earnings

and of earning capacity; as a result, Plaintiff has been damaged and injured in an amount to be

determined at trial, but well in excess of the jurisdictional minimum of this Court.

                                                CLAIMS

                                              COUNT ONE

               STRICT PRODUCT LIABILITY AGAINST DEFENDANT THOMSON

                                          INTERNATIONAL

         36.       Plaintiff realleges and incorporates herein by reference the allegations contained in

the preceding Paragraphs of this Complaint as if set forth herein in their entirety.

         37.       At all times relevant hereto, Thomson International was a manufacturer, distributor,

and/or seller of a defective product, i.e. red onions contaminated with Salmonella.

         38.       Thomson International placed the defective product on the market.

         39.       The defective product was sold in an unreasonably dangerous condition.

         40.       The adulterated food product that Thomson International manufactured,

distributed, and/or sold was, at the time it left Thomson International’s control, defective and

unreasonably dangerous for its ordinary and expected use—raw human consumption—because it

contained Salmonella, a deadly pathogen.

         41.       The defective product reached Plaintiff without substantial change in the condition

in which the product was sold.

         42.       The defect is the proximate cause of the Plaintiff’s injury.

         43.       Thomson International is strictly liable for damages caused by the Plaintiff eating

adulterated food contaminated with Salmonella.




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         44.       As a direct and proximate result of the above-described negligence of Defendant

Thomson International, Plaintiff sustained injuries and damages as described in the preceding

paragraphs.

                                             COUNT TWO

          NEGLIGENCE AGAINST DEFENDANT THOMSON INTERNATIONAL

         45.       Plaintiff realleges and incorporates herein by reference the allegations contained in

the preceding Paragraphs of this Complaint as if set forth herein in their entirety.

         46.       Thomson International owed a duty of care to Plaintiff and other customers to

manufacture, distribute, and sell wholesome food products, including red onions.

         47.       Thomson International owed a duty to Plaintiff to conform to a reasonable standard

of conduct for the safe growth, storage, handling, preparation, distribution, and sale of food

products.

         48.       Thomson International breached the duty of care owed to Plaintiff. Thomson

International’s breach led to an unreasonable and foreseeable risk of foodborne illness to

individuals including the Plaintiff.

         49.       Thomson International had a duty to properly supervise, train, and monitor its

employees and to ensure its employees’ compliance with all applicable statutes, laws, regulations,

or safety codes pertaining to the manufacture, distribution, storage, preparation and sale of similar

food products, but Thomson International failed to do so. Failure to conform to this duty is

negligence and led to an unreasonable and foreseeable risk of foodborne illness to individuals

including the Plaintiff.

         50.       Thomson International also had a duty to exercise reasonable care when growing

its red onions, including keeping the food items from becoming contaminated with fecal material



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containing Salmonella. Thomson international also had a duty to produce red onions in conformity

with applicable federal, state, and local laws, ordinances, and regulations, and that were clean, free

from adulteration, and safe for human consumption, but Thomson International failed to do so.

Thomson International negligently breached this duty which led to an unreasonable and

foreseeable risk of foodborne illness to individuals including Plaintiff.

          51.      Thomson International’s breach was the proximate cause of injury or damage to

Plaintiff.

          52.      The Plaintiff was a person intended to be protected by safe food handling

procedures and practices. As a direct and proximate result of Thomson International’s acts and

omissions of negligence, the Plaintiff ate food contaminated with Salmonella and became ill.

          53.      As a direct and proximate result of the negligence of Defendant Thomson

International, Plaintiff sustained injuries and damages as described in the preceding paragraphs.

                                           COUNT THREE

 BREACH OF WARRANTY AGAINST DEFENDANT THOMSON INTERNATIONAL

          54.      The Plaintiff realleges and incorporates herein by reference the allegations

contained in the preceding Paragraphs of this Complaint as if set forth herein in their entirety.

          55.       By offering red onions for sale to the public, Defendant impliedly warranted that

such red onions were safe to eat, that they were not adulterated with Salmonella, a deadly

pathogen, and that the red onions had been safely grown under sanitary conditions.

          56.      The Defendant breached the implied warranties about the food they manufactured

and sold to Plaintiff, which was consumed by the Plaintiff causing the Plaintiff’s injuries and

losses.




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         57.       As a direct and proximate result of the above-described actions of Defendant,

Plaintiff sustained injuries and damages as described in the preceding paragraphs.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays:

         1.        That the court award Plaintiff judgment against Defendant in such a sum as shall

be determined to fully and fairly compensate Plaintiff for all general, special, incidental and

consequential damages incurred, or to be incurred, by Plaintiff as the direct and proximate result

of the acts and omissions of Defendant, together with interest thereon, as provided by law;

         2.        That the court award Plaintiff his costs and disbursements incurred herein; and

         3.        That the Court award such other and further equitable relief as it deems necessary

and proper under the circumstances.

                                           JURY DEMAND


         Plaintiff hereby demands a trial by jury in this matter.



Dated: August 3, 2020
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and

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